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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                          Case No.: 1:18-MJ-00028-RK
              Plaintiff,

v.                                                        COMPLAINT
                                                          PENALTY SHEET
NING XI,

            Defendant.
_____________________________/

CHARGE – Wire Fraud – 18 USC 1343

Maximum penalty: Not more than 20 years and/or a $250,000 fine or not more than the
greater of twice the gross gain or twice the gross loss [18:3571(d)]

Supervised Release: Not more than 3 years [18 U.S.C. ' 3583] (Class C Felony, 18:3559)

Special Assessment: [18 U.S.C. ' 3013] $100

Restitution: [18:3663; Mandatory 18:3663A]



Date: February 14, 2018                            /s/Hagen W. Frank
                                                   Counsel for the United States

Submitted in accordance with Admin Order 17-MS-046
